August 9, 2022


BY ECF

The Honorable Katharine H. Parker, U.S.M.J.
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 750
New York, NY 10007

Cohen v. Group Health Incorporated, Case No. 1:22-mc-00200-GHW-KHP:

             Letter Motion for Extension of Time to Oppose Motion to Quash on Consent

Dear Judge Parker:

This firm represents Respondent Group Health Incorporated (“GHI” or “Respondent”) in the above-
referenced action. With consent from Petitioner Steven M. Cohen, Respondent GHI respectfully
submits a first request for an extension of time to oppose Petitioner’s Motion to Quash (ECF No. 1).
Pursuant to Rule I(c) of Your Honor’s Individual Practices, Respondent states the following:

 1.    The original date to oppose the motion is August 11, 2022.
 2.    This is Respondent’s first request for an extension.
 3.    Petitioner filed this miscellaneous proceeding on July 27, 2022, and asked undersigned
       counsel to accept service by email. Undersigned counsel agreed on July 28, 2022 to accept
       service by email, and Petitioner agreed that, given August vacation schedules, GHI may file
       its opposition to the motion on or before August 17, 2022.

In light of the foregoing, GHI respectfully requests that the Court extend its time to oppose the
Motion to Quash up to and including August 17, 2022



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We thank the Court for its consideration.



                                             Respectfully submitted,

                                             __/s/ Jared I. Kagan___
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  cc (by ECF):           All Counsel of Record
